                           No. 23-1972

           UNITED STATES COURT OF APPEALS
               FOR THE FOURTH CIRCUIT
                    ________________

                 PENINSULA PATHOLOGY ASSOCIATES,

                                            Petitioner-Appellee,
                                v.

                AMERICAN INTERNATIONAL INDUSTRIES,

                                            Respondent-Appellant.

                         ________________

      On Appeal from the United States District Court for the
     Eastern District of Virginia, No. 4:22-mc-00001-AWA-DEM
      Hon. Arenda L. Wright Allen, U.S. District Court Judge
                          ________________

                REPLY BRIEF FOR APPELLANT
                       ________________

     Robert E. Thackston             Benjamin L. Hatch
     NELSON MULLINS RILEY            Sylvia Macon Kastens
     & SCARBOROUGH LLP               MCGUIREWOODS, LLP
     3333 Lee Parkway                9000 World Trade Center
     Suite 740                       101 West Main Street
     Dallas, TX 75219                Norfolk, VA 23510
     (469) 983-6100                  (757) 640-3700
     robert.thackston@               bhatch@mcguirewoods.com
     nelsonmullins.com
      Counsel for Appellant American International Industries

March 4, 2024
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                            INTRODUCTION

      The decision of the court below rests on multiple clearly erroneous

bases, any one of which would warrant reversal.

      On relevance, the magistrate judge admitted that he “d[id]n’t

understand” why A-I-I sought this discovery in Gref and said that he

perceived “almost no connection between Dr. Emory’s study and [Gref].”

JA959. But the Johnson closing argument makes clear that there is not

just a “connection” between the Article and Gref, but that the Article is

critical to the case.

      PPA has no response whatsoever to a plaintiffs’ counsel stating:

“Remember the Moline case series, the Emory case series. Over a

hundred people exposed to cosmetic talc getting mesothelioma. How

many people have to die of mesothelioma before this company will say,

‘Okay. Enough’s enough. We admit it we did it’?” JA1376-1377 (emphasis

added). Gref’s counsel could attempt to do the same here. PPA does not

so much as mention that closing argument in its brief.

      It did not matter at that trial that Dr. Emory, Dr. Maddox, and Dr.

Kradin did not personally testify. Nor did it matter the amount of space

the Article took up in any expert report. Plaintiffs’ counsel could still use
the Article to dramatic effect, which Gref’s counsel can do at trial for the

same reasons.

     And the Article is highly relevant for far more reasons than just

that closing. PPA does not dispute that there are “no studies of the

epidemiology of mesothelioma among cosmetic talc users,” as Gref’s own

expert admits. JA445. The Article is critical because it attempts to fill

that gap. The Article also supports Gref’s contention—hotly disputed in

the case—that cosmetic talc is contaminated with asbestos. According to

the Article, supposedly the only explanation for the individuals’

mesotheliomas is the presence of asbestos in talc.

     The magistrate judge describing the Article as “minimally relevant”

in the face of its plain relevance and the very real ways it has been

exploited at closing argument in the past is clearly erroneous and

warrants reversal.

     On burden, the magistrate judge’s conclusion that “compliance with

AII’s subpoena would force Peninsula and Dr. Emory to bear heavy

burdens” is also clearly erroneous and serves as an independent basis to

reverse. See JA1018 (emphasis added). Aside from the financial and

logistical costs of complying with the subpoena before it was narrowed—



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which the district court did not adopt and PPA does not defend—the

magistrate judge relied on only one burden: supposed “medical ethics

rules.” But PPA has not cited a single medical ethics rule to support that

conclusion or any other authority demonstrating that any such medical

ethics rule exists. In fact, PPA admits that “the physician-patient

evidentiary privilege is not at issue in this case.” RB44.1 And PPA does

not argue that HIPAA applies. Relying on non-existent “medical ethics

rules” is clearly erroneous and another basis for reversal.

      Finally, reversal is appropriate if the “appellate court has a definite

and firm conviction that the court below committed a clear error of

judgment in the conclusion it reached upon a weighing of the relevant

factors.” United States v. Parris, 639 F. App’x 923, 927 (4th Cir. 2016).

Having misjudged both the relevance and the burden, this Court should

also reverse because the magistrate judge clearly erred in balancing the

factors.




   1 PPA’s response brief will be cited: RB__. A-I-I-‘s opening brief will be

cited: OB__. The underlying Gref docket (S.D.N.Y. 20-cv-5589) will be
cited Gref ECF __.


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                               ARGUMENT

     A-I-I proposed a hypothetical in its opening brief where an expert

makes false claims at trial about 75 other unrelated plaintiffs, explaining

that the discoverability of those plaintiffs’ identities should not change

simply because the plaintiffs were laundered through the veneer of an

“article.” OB28. PPA’s response is a non sequitur—claiming that A-I-I

contends “that every time an expert relies on another academic’s article,

a party should get discovery into that third party’s underlying data, even

if they have nothing to do with the case.” RB34. That is neither

responsive    to   the    hypothetical    nor    a   remotely     reasonable

characterization of A-I-I’s arguments.

     The Emory Article is uniquely situated. Its authors are experts in

cosmetic-talc litigation and knew they would be subject to discovery

about their Article. The Article is critical to Gref’s case. There is a dearth

of epidemiology showing that cosmetic talc users are at increased risk of

mesothelioma. The Article purports to support Gref’s theory that

cosmetic talc contains asbestos. And the Article can be exploited in

closing argument in ways that have actually occurred in actual cases.




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     The Article’s subjects are plaintiffs in litigation, who have no

expectation of privacy regarding their medical conditions. Rather, each

plaintiff-subject had every expectation that their medical condition would

be discussed publicly. And A-I-I has sought only the smallest amount of

non-private information: the names of the cases used in the Article.

     A-I-I has also demonstrated it has good reason to believe the

fundamental premise of the Article is false. This is no “fishing

expedition.” See RB34. PPA’s argument that A-I-I’s plaintiff matches are

“unsubstantiated” holds no water here where the question is simply

whether A-I-I is entitled to basic discovery for the purpose of

substantiating its arguments. See RB30.

     This Article is unlike simply every paper an expert relies on, and

its unique nature also makes this case unlike those cited by PPA. See

RB33-34. Permitting discovery into this singular Article that was

published as a litigation tactic does not create a “slippery slope” to

discovery into every single study any expert ever relies on.

     This Court should reverse the decision below and permit A-I-I’s

requested discovery.




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I.    PPA’s Status As A “Non-Party” Does Not Meaningfully
      Change The Analysis Here.

      PPA only pays lip service to its argument that its status as a non-

party makes any significant difference in how this Court should conduct

its analysis. RB19-21. PPA does not dispute that the standard for non-

parties simply means that “courts look closely at the pertinent factors.”

OB25. PPA also agrees that—as the party seeking to block discovery—it

bears the burden to show why the subpoena should be quashed. RB19-

21.

      Rather, PPA disagrees only that any “special weight” given to non-

parties is diminished here because (1) PPA is not a stranger to cosmetic

talc litigation and (2) courts should be more hesitant to deem information

irrelevant when the underlying case is not before them. Both factors

point in favor of discovery here.

      First, the rationale in Jordan for courts having more sensitivity

toward non-parties is based on the expectations of those parties to become

connected to the litigation. Va. Dep’t of Corr. v. Jordan, 921 F.3d 180, 189

(4th Cir. 2019). PPA plucks out one phrase in Jordan referring to the

“parties’ dispute.” RB20. But Jordan had no occasion to address

subpoena recipients with a connection to the litigation more broadly


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because it involved a subpoena to a true stranger to the dispute: the

Virginia Department of Corrections in a case involving Mississippi’s

execution practices. Id. at 185.

      Here, PPA is enmeshed in talc litigation, as is the Article. The

Article’s authors are experts in cosmetic-talc litigation. Its subjects are

plaintiffs in cosmetic-talc litigation. Its purpose is to aid cosmetic-talc

litigation, and it has succeeded in doing so. PPA has every expectation

that it will be heavily involved in discovery in cosmetic-talc litigation like

Gref. PPA’s proposed rule that these considerations do not factor into the

analysis at all does not make sense.

      Second, PPA downplays the Federal Circuit’s statements that a

district court should be “especially hesitant” to deem evidence irrelevant

when it is supervising discovery for a case pending in another district.

Truswal Sys. Corp. v. Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1211-12 (Fed.

Cir. 1987). PPA’s protests that the case is too old, out-of-circuit, and based

on an older version of Rule 45 are meritless. RB21 n.3.




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        Courts across the country continue to rely on Truswal for this very

concept.2 Contrary to PPA’s argument, Rule 45’s amendments have no

bearing on the commonsense principle that an outside court reviewing a

subpoena may not be as familiar with the facts of the underlying case.

PPA never explains how the amendments change the analysis.

        Whatever minimal weight non-parties generally may receive

should not apply here, or at least to a lesser extent.

II.     The List Of Case Names Is Highly Relevant To Gref.

        PPA’s arguments on relevance only underscore the errors of the

court below. PPA highlights that the magistrate judge stated: “I just don’t

understand why you’ve picked this case to single out, because I frankly

see almost no connection between Dr. Emory’s study and [Gref].” JA959

(emphasis added); RB22-23. That lack of understanding is precisely the

problem.

        The relevance is plain from how the study has been used at other

trials. PPA does not respond whatsoever to how plaintiffs’ lawyers have




      2 See, e.g., In re Subpoena to PayPal Holdings, Inc., 2020 WL 3073221,

at *2 (N.D. Cal. June 10, 2020); Ubiquiti Networks, Inc. v. Kozumi USA
Corp., 295 F.R.D. 517, 521 (N.D. Fla. 2013); DatCard Sys., Inc. v.
PacsGear, Inc., 2011 WL 2491515, at *2 (D. Minn. Apr. 25, 2011).


                                      8
used the Emory Article in a closing argument: “How many people have to

die of mesothelioma before this company will say, ‘Okay. Enough’s

enough. We admit it we did it’?” JA1376-1377 (emphasis added). Dr.

Emory, Dr. Maddox, and Dr. Kradin did not testify at that trial, yet

plaintiffs still emphasized the Article in closing arguments. The same

could occur in Gref.

     This serves as a stark example for why the number of words devoted

to discussing a paper in an expert report is no indication of its importance

at trial. An expert need only cite a paper to discuss it at trial. And once

part of the trial, Gref’s counsel can then emphasize the Article as much

as they want—not just in closing argument, but also on direct

examination of Gref’s experts and cross examination of A-I-I’s. Indeed,

Dr. Moline testified about the Article as recently as a February 2024

cosmetic talc trial against A-I-I in New York.

     A recent order in the federal Johnson & Johnson cosmetic

talc/ovarian cancer MDL recognizes both the significance of this

discovery and why it is warranted. Special Master Order No. 19, In re:

Johnson & Johnson Talcum Powder Prods., No. 16-md-2738, ECF 29138

(D.N.J. Feb. 29, 2024). The defendant sought the identities of the



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individuals included in Dr. Moline’s similar papers. Id. at 1. The Special

Master explained that “Moline’s articles are directly relevant” to an issue

“at the heart of the case”—whether “J&J’s talc contains asbestos.” Id. at

6. He ruled that “[i]f the articles are relied upon by plaintiffs, the articles

should be fair game for discovery” because “defendants in cosmetic talc

cases deserve a fair opportunity to explore the weight to be assigned Dr.

Moline’s facts and conclusions.” Id. at 6, 7. That is precisely the situation

here with respect to the Emory Article.3

      The Article easily satisfies the undemanding standard for relevance

in Jordan, a case PPA repeatedly cites. Relevant evidence must provide

only a “marginal benefit in litigating important issues,” in that “the

information must offer some value over and above what the requesting

party already has.” Jordan, 921 F.3d at 189. It is fundamentally unfair

to permit Gref’s counsel to argue that other mesothelioma cases involved




   3 The special master denied the discovery only because “J&J ha[d] not

shown that plaintiffs’ experts rely on Moline’s articles to support their
expert opinions” and because “Plaintiffs expressly assured J&J and the
SM at oral argument that they w[ould] not use or seek to introduce
Moline’s articles at trial.” Id. at 7-8. That is not the situation here where
Gref’s experts do rely on the Emory Article and Gref has not agreed to
not raise the Article at trial.


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no non-talc exposures and then shield the identity of those cases so A-I-I

cannot test those assertions.

     None of PPA’s numerous attempts to justify this unreasonable

result hold water.

     A.    That asbestos causes mesothelioma is beside the point.

     PPA repeatedly claims that the Article is not important because it

has already been established that asbestos causes mesothelioma. This

skewed framing serves as the foundation of PPA’s argument, which PPA

considered important enough to weave throughout its entire brief. See

RB2 (“[A]sbestos, regardless of the product that it is contained in, causes

mesothelioma.”); id. at 7 (“[A]sbestos, regardless of the product in which

it is contained, is capable of causing mesothelioma.”); id. (“[A]sbestos

fibers of any type or size can cause mesothelioma”); id. at 23 (“asbestos

causes mesothelioma.”); id. at 27 (“asbestos causes mesothelioma”); id. at

28 (“all forms of asbestos cause cancer.”); id. at 28 (same).

     PPA’s framing is false by its own words. PPA itself stated the “goal

of the Article” was to discuss “a potential cause of malignant

mesothelioma that, at that time, had not been widely reported or

recognized: cosmetic talc.” RB4 (emphasis added). The Article itself



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concludes that “[m]esotheliomas can develop following exposure to

cosmetic talcum powder”—not asbestos. JA99 (emphasis added); see also

JA104 (similar). Even the Article’s title is “Malignant mesothelioma

following repeated exposures to cosmetic talc.” JA99 (emphasis added).

     The Article makes no attempt to add to the scientific knowledge

that asbestos causes mesothelioma. The whole point of the Article is to

argue that alleged asbestos in talc was the only explanation for 75

individuals’ mesothelioma. That information came from lawsuits. Yet

now PPA wants to block discovery to identify those lawsuits to prevent

any investigation into whether those exposure claims were true.

     Additionally, as the special master in the Johnson & Johnson

ovarian cancer MDL recognized, the Article supports Gref’s theory that

asbestos is present in the talc. That is why the Special Master found the

Articles are relevant to an issue at the “heart of the case” even in cases

where plaintiffs did not develop mesothelioma but rather ovarian cancer.

If a product as widely used as cosmetic talc actually contained asbestos,

one would expect to see high rates of mesothelioma among end users of

cosmetic talc, like barbers. Yet there are no epidemiological studies that

identify barbers (or any other group of cosmetic talc end users) at an



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increased risk of mesothelioma. JA1186. Likewise, studies of miners and

millers of cosmetic talc—who would have the highest exposures—show

no increased risk of mesothelioma. JA1192; see also JA1186. If cosmetic

talc contained asbestos, then mesothelioma would not be a rare disease

given the number of people who have used it regularly their entire lives.

     The Emory Article attempts to fill that scientific gap for plaintiffs

by alleging a relation between cosmetic talc end users and mesothelioma

that no other study (other than Dr. Moline’s) finds. The Article is

therefore critical to Gref’s case. While PPA tells this court the Article is

irrelevant, Gref has never committed not to mentioning it at trial.

     B.    PPA’s proposed ways for A-I-I to defend itself without
           the data A-I-I seeks would be ineffective.

     The magistrate judge concluded, “[t]here is already extensive

information on the face of the Article that A-I-I can use to attack the

Article’s conclusion.” JA1017. PPA’s attempts to support that rationale

fall flat. RB25. The primary argument PPA proposes for the defense to

make at trial is that the Article’s authors are plaintiff-side litigation

experts. Id. But the fact that the authors may have some bias pales in

comparison to the argument that the Article’s premise is false.




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     The same is true of PPA’s technical and not-particularly-jury-

friendly argument that because the Article is a “case series” it does not

have the “proper epidemiological study design aims” to provide “causal

inferential value.” RB32. That scientifically focused argument, while

perhaps available, does little to remove the sting of the Article’s powerful

and easily understood point: that asbestos in cosmetic talc supposedly

must be the cause of mesothelioma because it is the only explanation for

the 75 individuals’ mesothelioma. PPA certainly believes the Article

provides “causal inferential value”—the Article itself claims to show that

“cosmetic talc may be a cause of malignant mesothelioma.” JA104

(emphasis added).

     Finally, PPA talks out of both sides of its mouth when it argues that

“A-I-I can also cross examine the Gref experts about their supposed case

matches.” RB25. PPA itself previews Gref’s response, contending that

“several of the supposed case matches contain data differences, and thus

are not even plausible matches.” RB30. But PPA cannot argue that A-I-I

is able to cross-examine Gref’s experts regarding its case matches while

simultaneously arguing those matches are incorrect. The entire purpose

of the discovery is to ascertain those and other matches.



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     It will be difficult-to-impossible to prove these matches to a jury

without knowing who the plaintiff-subjects are. That is even more

problematic in a case like Gref where Dr. Emory is not an expert. Dr.

Moline and Dr. Finkelstein do not know who the individuals in the Emory

Article are and so are in no position to agree whether a case match is

accurate. In fact, they are likely to fight the concept that the cases are

matches just as PPA does in its own brief.

     C.    There is little reason to depose Dr. Moline and Dr.
           Finkelstein on a topic about which they have no
           knowledge.

     It is of no moment that Dr. Moline and Dr. Finkelstein were not

questioned significantly about the Emory Article at their Gref

depositions, as PPA contends. RB7-8. Opposing counsels need not reveal

all of their questions in a deposition. The amount of deposition

questioning is no concession as to the importance of any topic that may

be raised at trial. And questioning Gref’s experts about the most critical

issue regarding the Article—the truth of the non-talc asbestos

exposures—would have been futile. As mentioned above, those experts

have no knowledge about the underlying cases on which the Article is




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supposedly based. They can hide behind the claim that the Article was

peer reviewed.

     D.    Any “peer review” did not confirm accuracy of
           underlying case facts and is irrelevant.

     PPA also claims the Article was peer reviewed and that A-I-I has

not “provided any good reason to supersede that quality control process.”

RB29-30. While certainly a paper that is not even peer reviewed should

raise major red flags about its reliability, any peer review is not a

panacea ensuring accuracy.4 Never was that truer than in this case.

     The journal where Dr. Kradin is an editor accepted the Article for

publication a mere 11 days after it was received. JA99 (“Received: 24

February 2020” and “Accepted: 6 March 2020”). Dr. Maddox himself

recognized that represented a “pretty quick” turnaround time. JA60. It is

implausible that any peer reviewers could thoroughly evaluate 75 full

litigation files including transcripts and medical records in that time in


  4 Peer review does not “necessarily correlate with reliability.” David

W. Schnare, Academic Research Transparency and the Importance of
Being Earnest, 49 J.L. & Educ. 1, 5 (2020). As one example, a Science
reporter was able to get more than 150 peer-review journals to accept
scientific papers with experiments “so hopelessly flawed that the results
[are] meaningless.” John Bohannon, Science, Who’s Afraid of Peer Review
(Oct. 4, 2013), https://www.science.org/doi/10.1126/science.2013.342
.6154.342_60.


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a search for non-talc exposures. In fact, there is reason to believe the peer

reviewers were never given access to the underlying data in the first

place, especially since the authors claim they are duty-bound to never

disclose it. See also Complaint ¶ 113, LTL Mgm’t LLC v. Emory, No. 23-

cv-03649, ECF 1 (D.N.J. July 7, 2023) (asserting that the peer reviewers

did not have access to the data).

     There was no “quality control” process that A-I-I attempts to

supersede. And even if one existed, that would not be a basis to block

discovery. It has no bearing on whether the information sought is

relevant or represents an undue burden.

     E.      The timing of A-I-I’s subpoena has no bearing on its
             relevance.

     PPA is also wrong to contend the timing of the subpoena indicates

the Article is not relevant. As discussed below, the subpoena was served

in the middle of fact and expert discovery. See infra § IV.B. So, the timing

of the subpoena during ongoing discovery does not hint at a lack of

relevance.

     Additionally, the Bell opinion, in unsealing information that

identified Ms. Bell as a subject of Dr. Moline’s paper, gave A-I-I the good

faith basis to believe the Emory Article also included cases with


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alternative exposure to asbestos unrelated to talc. Dr. Moline’s paper

claimed all 33 cases of mesothelioma had only exposure to cosmetic talc.

Yet A-I-I discovered that Ms. Bell, one of those 33 cases, had also filed a

workers compensation claim swearing to occupational asbestos exposure

in a textile mill.5

       The Bell Court specifically acknowledged, “AII seeks to vacate the

protective order so the Northwell Document can be used in other

litigation.” Bell v. Am. Int’l Indus., 627 F. Supp. 3d 520, 529 (M.D.N.C.

2022). The Middle District of North Carolina issued the Bell opinion in

September 2022. A-I-I issued its subpoena to PPA the next month. JA10.

       F.   The caselaw supports permitting discovery here.

       PPA has not marshalled a single case that supports quashing the

subpoena here. The cases PPA cites are not remotely like the

circumstances surrounding the Emory Article: a narrow request for just

a list of non-confidential case names used by experts in the broader

litigation for non-confidential material where there is good reason to




   5Contrary to PPA’s contentions (at RB31 n.5), Ms. Bell’s workers’
compensation claims were “not adjudicated on the merits.” Bell, 627 F.
Supp. 3d at 531.


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believe the premise of the Article is false—and where the Article has been

emphasized in closing arguments in similar cases. See RB33-34.

     Buchanan involved a request for a deposition and documents which

would require the third party “to spend many days testifying and

disclosing all of the raw data, including thousands of documents,

accumulated over the course of a long and detailed research study.”

Buchanan v. Am. Motors Corp., 697 F.2d 151, 152 (6th Cir. 1983). In re

NHL similarly involved requests that would take “13 years worth of time”

to gather to produce. In re Nat’l Hockey League Players’ Concussion Inj.

Litig., 2017 WL 1493671, at *4 (D. Minn. Apr. 26, 2017). And in In re

Bextra, the medical journal actually produced “general communications

between their editors and the authors of articles” after negotiations with

the defendant. In re Bextra & Celebrex Mktg. Sales Pracs. & Prod. Liab.

Litig., 249 F.R.D. 8, 11 (D. Mass. 2008).

     The cases A-I-I cited are much more analogous, and PPA failed to

convincingly distinguish them. See RB35-36. PPA hangs its hat on the

thin reed that the subpoenaed information in Kellington was written by

an expert who previously was involved in the litigation, rather than an

expert who was currently involved in other cases in the litigation. RB35



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(citing Kellington v. Bayer Healthcare Pharms., Inc., 2016 WL 5349801

(W.D. Va. Sept. 23, 2016)). And both here and in Deitchmann, the paper

at issue was “of enormous significance” to the case. Deitchman v. E.R.

Squibb & Sons, Inc., 740 F.2d 556, 558 (7th Cir. 1984).

III. The Subpoena Imposes No Burden On PPA.

      The magistrate judge and district court identified only a single

supposed “burden” on PPA: so-called “medical ethical concerns.” JA1369-

1370; see also JA1018 (“medical ethics rules”). But PPA still has not

provided any authority whatsoever to support this concept—relying only

on Dr. Emory’s conclusory statement.

      To try to circumvent this clear error, PPA in a footnote distorts the

magistrate judge’s ruling. PPA claims the magistrate judge considered

“several factors.” RB38 n.10 (quoting JA1015). But PPA quotes the part

of the opinion where the magistrate judge laid out the factors “courts

should consider” in the abstract. JA1015 (emphasis added). When

actually analyzing what supposed “burdens” exist, the magistrate judge

and the district court relied exclusively on non-existent “medical ethics.”6


  6  The magistrate judge also discussed burdens associated with the
original subpoena, though recognized that A-I-I had since “limited its
demand to a list of the names.” JA1018. The district court did not rely on


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      Trying to salvage this flawed reasoning, PPA now pivots to arguing

the subpoena should be quashed because of alleged concerns regarding

confidentiality and chilling academic research. Neither represents a

legitimate burden here. Moreover, these new arguments not relied on by

the district court or magistrate judge do not merit the deference of a

“clear error” standard of review. United States v. Smith, 640 F.3d 580,

596 (4th Cir. 2011) (“As the district court made no findings on this point,

our review must be de novo.”); United States v. Ellis, 121 F.3d 908, 927

(4th Cir. 1997) (“[W]e review a District Court’s factual findings for clear

error; if, as here, no findings exist, our review is plenary.”).

      A.    No confidentiality interests are implicated.

      PPA does not meaningfully grapple with the fact that the subpoena

involves unique circumstances where the medical conditions of all the

Article’s subjects have already been made public. As the American Tort

Reform Association’s amicus brief explains (at 8-9), it is a common legal

principle that a person loses any expectation of privacy when disclosing

information to a third party. Here, the information wasn’t merely sent to




the burdens associated with the original, unnarrowed subpoena. JA1367-
1370. Nor does PPA before this Court.


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one other person, but made public. Because all the subjects of the Article

were litigants, they did not have any expectation of privacy, but rather

every expectation that their medical conditions would be discussed in the

very public setting of trial.

       Take Stephen Lanzo for example, who appears to be Case #72 in

the Article. OB13-15. Stephen Lanzo filed a public complaint stating:

“Stephen Lanzo, III, contracted mesothelioma.” Complaint ¶ 3, Lanzo v.

Cyprus Amax Mins. Co., 2016 WL 11188365 (N.J. Super. Ct. Dec. 22,

2016). He had a public trial discussing his mesothelioma which is

currently available online for anyone to watch.7 The verdict in his favor

was reversed in a public appellate opinion, discussing his mesothelioma.

Lanzo v. Cyprus Amax Mins. Co., 467 N.J. Super. 476, 487 (App. Div.

2021).

       In fact, the first hit of a simple Google search for “Stephen Lanzo”

is a page on his plaintiffs’ firm’s website promoting their (since-reversed)

trial victory and stating that Mr. Lanzo has mesothelioma.8 Mr. Lanzo



   7  https://cvn.com/proceedings/lanzo-v-cyprus-amex-minerals-co-et-al-
trial-2017-11-20.
   8 https://www.kazanlaw.com/verdicts/117000000-mesothelioma-

verdict-for-lifelong-user-of-johnson-johnson-baby-powder/.


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cannot possibly have any expectation of privacy in the fact that he has

mesothelioma. Nor could any of the other subjects who are similarly

situated, having made their mesothelioma public by filing public lawsuits

where they expected their mesotheliomas would be publicly litigated.

     PPA even admits that “the physician-patient evidentiary privilege

is not at issue in this case.” RB44. And it makes no argument that HIPAA

applies. Instead, it claims its assertion of “confidentiality is based on the

widely-recognized confidentiality of human research subject identities.”

Id. But simply calling something “widely-recognized” does not make it so.

PPA has cited no medical authority for this supposed principle in these

circumstances. Nor has it cited any other authority that a medical

condition should maintain some form of confidentiality in the

circumstances here where the subjects’ medical conditions have already

been made public.

     PPA again relies on cases involving circumstances that are

dissimilar to the issue before this Court. See RB42-43. In Farnsworth, the

information sought was “of a highly personal nature” including “sexual

practices, contraceptive methods, pregnancy histories, menstrual

activity, tampon usage, and douching habits.” Farnsworth v. Procter &



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Gamble Co., 758 F.2d 1545, 1546 (11th Cir. 1985). Those study

participants, unlike Dr. Emory’s, were not all plaintiffs who already

publicly revealed the medical information at issue. Moreover, unlike this

case, there was no evidence in Farnsworth that the underlying facts

reported in the study were false. Lampshire was an earlier ruling

involving the same study and suffers from the same flaws. Lampshire v.

Procter & Gamble Co., 94 F.R.D. 58, 60 (N.D. Ga. 1982).

     Doe v. American Red Cross Blood Services did not involve a study

at all, but a request to identify “the HIV positive donor whose blood was

transfused into Jane Doe during an operation.” 125 F.R.D. 646, 647, 650,

652-53 (D.S.C. 1989). That HIV status was not previously made public,

and the court there emphasized the unique stigma surrounding HIV in

that era. The court described the donor as “suffering from a disease that

is widely thought of as the modern day equivalent of leprosy.” Id. at 652.

     Finally, in Braintree the relevant documents were produced, and

the only question was whether information would be filed under seal—a

completely different inquiry. Braintree Lab’ys, Inc. v. Novel Lab’ys, Inc.,

2013 WL 12170639, at *1 (D.N.J. Apr. 3, 2013). As discussed below, A-I-I

agreed in a similar vein to obtain the identities of the subjects of the



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Article under seal to maintain their confidentiality. Moreover, the

individuals in Braintree “expressly agreed to participate in the studies on

the condition that their medical data remain confidential.” Id.; see also

Richards of Rockford, Inc. v. Pacific Gas & Elec. Co., 71 F.R.D. 388, 389

(N.D. Cal. 1976) (employees agree to participate in interview “[u]nder a

pledge of confidentiality”). Here, by contrast, there is no dispute that the

authors of the Emory Article did not seek their subjects’ consent at any

time. JA104; see also RB39 (acknowledging as much).9

     B.    The speculative risk of “chilling” research is no basis
           to quash the subpoena.

     PPA is also wrong to contend the subpoena is burdensome on the

ground that complying with it “threatens to chill scientific research.”

RB39. That argument turns less on the alleged confidentiality of the

information but almost entirely on the authors’ status as “researchers.”




     9 PPA also quotes from a mid-trial ruling regarding Dr. Moline’s

paper in Johnson/Lashley v. American International Industries where
the court did not have the benefit of full briefing and argument. RB43.
Critically, that trial occurred in 2020 shortly after Dr. Moline’s original
article first became available—well before the Bell ruling and other new
information came to light revealing that the premise of Dr. Moline’s 2020
Article is not true. Supra 17-18.

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     In the First Amendment context, asserting that a law would “chill”

speech requires concrete evidence. “Allegations of a subjective ‘chill’ are

not an adequate substitute for a claim of specific present objective harm

or a threat of specific future harm.” Laird v. Tatum, 408 U.S. 1, 13-14

(1972). PPA should not be able to block a subpoena by simply asserting

without any evidence that complying with the subpoena would “chill”

research. PPA never so much as explains how or why obtaining this list

of names will impact their research at all. It would not, for many reasons.

     As discussed above, the Article was written by litigation experts

about litigation plaintiffs for litigation purposes. Even before the Article

was published, everyone would have expected litigants to probe into the

assertions that these individuals had no non-talc exposure to asbestos.

     PPA relies on In re Fosamax, which found the subpoena would

“handicap [the National Academy of Sciences’] ability to recruit

participants” and diminish the “candor” of study participants. In re

Fosamax Prod. Liab. Litig., 2009 WL 2395899, at *5 (S.D.N.Y. Aug. 4,

2009). But here, the subjects of the Article did not even know they would

be in the study, so there are no recruitment concerns. JA104. And the

subpoena does not threaten anyone’s candor to researchers as the



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information came from sworn deposition testimony and interrogatory

responses. JA100. The plaintiffs who are the subjects of the Article

already had every incentive to be candid to avoid committing perjury and

to maintain their credibility.

     It is therefore irrelevant that “physicians and academics rely on the

promise of confidentiality to conduct their research” in other contexts.

RB40. That was not the case here. PPA claims without evidence that the

“methodology used in the Article is typical.” RB39. But even if true, that

would not negate the fact that the Article’s approach eliminates the

“chill” concerns about participation and candor.

     Finally, the idea that the subpoena would chill researchers’ “ability

and willingness to research rare and lethal diseases like mesothelioma

and assist medical advancements related to its treatment” is a complete

misdirection. Dr. Emory and the Article’s other authors were not

researching treatments for cancer. If anything, they were trying to

support litigation. Actual researchers of treatments for rare and lethal

diseases have nothing to fear. And PPA’s point on this front turns on the

supposed chill stemming from being “subjected to burdensome

subpoenas.” RB40. That is a circular argument. The entire inquiry is to



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decide whether the subpoenas are burdensome. PPA cannot argue the

reason subpoenas represent an undue burden is because they are

“burdensome subpoenas.”

      Because the authors served as experts in the litigation cases the

Article’s subjects were drawn from, the authors were intimately familiar

with the facts surrounding the plaintiff-subjects’ non-talc asbestos

exposures. That the Article claims these exposures do not exist means

the Article is either intentionally false or that the authors published it

with reckless disregard for its truth or falsity. At bottom, PPA’s argument

is that the Article’s authors can make false statements about plaintiffs

in litigation to support the litigation position of cosmetic talc plaintiffs

like Mr. Gref, but they should be shielded from discovery merely because

the statements occurred in an “article.” That is not the law, nor should it

be.

      C.   The proper remedy to address any confidentiality
           concerns is a protective order.

      It is a vast oversimplification for PPA to claim that “[w]hen, as here,

a subpoena is unduly burdensome, there is only one available course: the

court ‘must quash’ the subpoena.” RB44 (emphasis added). Multiple

courts recognize that, when a subpoena presents an undue burden, “[t]he


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solution is not to cover-up the information or its data base because

disclosure is too burdensome but to use the tools available to lessen the

burden and to permit the information to become available.” Wright v.

Jeep Corp., 547 F. Supp. 871, 877 (E.D. Mich. 1982). Indeed, “a district

court abuses its discretion when—as in this case—it fails to recognize or

consider the range of options available to it before ruling on a motion to

quash.” Cook v. Howard, 484 F. App’x 805, 827 (4th Cir. 2012) (Diaz, J.,

dissenting in part and concurring in part).

     It is well-established that a protective order is the preferred

solution to confidentiality concerns. Jordan, 921 F.3d at 192-93 (“And

disclosure subject to a confidentiality order, if feasible, is generally

preferable to an outright denial of discovery.”); see also, e.g., Deitchman,

740 F.2d at 564 (concluding that the failure to issue a protective order

was “an abuse of discretion.”). The court below abused its discretion by

failing to consider or address whether a protective order would have

alleviated the supposed “burden.”




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IV.   This Court Should Reject PPA’s Proposed Alternative
      Grounds For Affirmance.

      A.   A-I-I is not         seeking     privileged     or    protected
           information.

      This Court should reject PPA’s two-sentence argument that the

subpoena seeks “privileged or other protected matter” under Fed. R. Civ.

P. 45(d)(3)(A)(iii). RB46. Putting aside that the information sought is not

even confidential for the reasons discussed above, the provision PPA

relies on is inapplicable as a matter of law.

      The subpoena does not seek “privileged” material. As mentioned

above, PPA itself admits “the physician-patient evidentiary privilege is

not at issue in this case.” RB44.

      Nor does the subpoena seek “other protected matter.” That

provision “refers to testimony or production that, although not privileged,

is nevertheless protected from compelled disclosure, such as attorney

work product or trial preparation materials.” 9 Moore’s Federal Practice

– Civil § 45.51. “[H]ealth care records are not the type of ‘other protected’

materials intended by” Rule 45(d)(3)(A)(iii). Kohari v. Jessie, 2014 WL

1338558, at *3 (S.D. W. Va. Apr. 3, 2014); see also Briggs v. Cnty. of

Maricopa, 2021 WL 1192819, at *5 n.5 (D. Ariz. Mar. 30, 2021) (similar).




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     That interpretation makes sense. The rule PPA invokes describes

categories of documents where the court “must quash or modify the

subpoena.” Fed. R. Civ. P. 45(d)(3)(A) (emphasis added). If PPA were

correct that “confidentiality” is sufficient, a court would be required to

quash or modify a subpoena merely because two private parties entered

into an agreement to keep material confidential. Rule 45(d)(3)(A)(iii) does

not apply here.

     B.    The subpoena was timely.

     PPA argues that “[s]ubpoena was issued after the close of discovery

in Gref, and therefore was untimely.” RB46. That is wrong. Even the

magistrate judge explained at the hearing that he would not “quash the

subpoena solely on the basis that it was untimely given that discovery is

ongoing.” JA974 (emphasis added). On September 6, 2022, the Gref court

adjourned the pretrial conference “until discovery is completed in the

case” and requested the parties notify it once complete. JA602. The

subpoena was served the next month in October 2022. As recently as

August 2023, the parties submitted a status report discussing ongoing

discovery. Gref ECF 390. As of today, the parties still have not notified

the court that discovery is complete.



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     PPA also argues the subpoena should be quashed because it was

not “issued during the fact discovery period.” RB46 (emphasis added).

This argument—asserted without any support—is wrong twice over.

First, even taking PPA’s argument at face value, fact discovery was still

ongoing. Despite PPA’s claim that fact discovery closed on November

2021, it continued throughout 2022 with no timeliness objections lodged

by either party:

         1/11/2022: Dr. Badarinath (treating physician) deposition
          notice. JA629-633.

         1/12/2022: Dr. Shirazi (treating         physician)   amended
          deposition notice. JA634-638.

         1/19/2022: Plaintiff’s Supplemental Interrogatory. JA639-
          646.

         2/18/2022: A-I-I’s Response to Supplemental Interrogatory.
          JA648-655.

         4/7/2022: A-I-I’s Supplemental Requests for Admissions.
          JA657-661.

         5/6/2022: A-I-I’s Second Request for Production of Documents.
          JA662-668.

         5/9/2022: Plaintiff’s Responses to A-I-I’s Supplemental
          Requests for Admissions. JA669-676.

         6/6/2022: Plaintiff’s Responses to A-I-I’s Second Request for
          Production of Documents. JA678-682.

         10/31/2022: Subpoena to Navy Personnel Command. JA683-
          687.


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A-I-I issued its subpoena to PPA on October 27, 2022. Fact discovery was

still ongoing at the time of the subpoena.

     Second, the subpoena is relevant to expert discovery, which was also

still ongoing, as it concerns expert reliance material. While PPA tries to

claim that expert discovery closed in July 2022, it acknowledges that “the

deadline to complete expert depositions was extended several times.”

RB46. Multiple depositions, such as Dr. Diette’s, had not occurred at the

time of the subpoena. JA625. Dr. Moline’s deposition had not yet even

been completed when the subpoena was issued. JA604. In May 2023, Gref

agreed to allow A-I-I to depose Dr. Moline again. Gref ECF 347. And as

PPA itself notes, Dr. Moline has since attempted to supplement her

expert report in September 2023. RB15.

     As even the magistrate judge found, the subpoena was timely.

                             CONCLUSION

     This Court should reverse the decision of the court below and

require the production of the list of the individuals in the Emory Article.




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                                      Respectfully submitted,

                                      /s/Benjamin L. Hatch
     Robert E. Thackston              Benjamin L. Hatch
     NELSON MULLINS RILEY             Sylvia Macon Kastens
     & SCARBOROUGH LLP                MCGUIREWOODS, LLP
     3333 Lee Parkway                 9000 World Trade Center
     Suite 740                        101 West Main Street
     Dallas, TX 75219                 Norfolk, VA 23510
     (469) 983-6100                   (757) 640-3700
     robert.thackston@                bhatch@mcguirewoods.com
     nelsonmullins.com                skastens@mcguirewoods.com

       Counsel for Appellant American International Industries

March 4, 2024




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     This brief complies with the type-volume limitation of Federal Rule

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Date: March 4, 2024

                                      /s/Benjamin L. Hatch
                                      Benjamin L. Hatch
                                      Counsel for Appellant American
                                      International Industries
                     CERTIFICATE OF SERVICE

     This is to certify that I have this March 4, 2024, electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which

will notify all registered counsel.

                                        /s/Benjamin L. Hatch
                                        Benjamin L. Hatch
                                        Counsel for Appellant American
                                        International Industries
